               Case 1:09-cr-00187-JL   Document 425    Filed 02/14/11   Page 1 of 2


                                                                      U.S. DISTRICT COURT
                                                                  DISTRICT OF NEW HAMPSHIRE


                                                                         FEB 14 2011
                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW HAMPSHIRE                  FILED



          United S t a t e s of America
                                                      Crim. No.     O ^Cfi    ~(% 7    "^L

             fh«iic^ Pm^MZ

                              ORDER ON VIOLATION OF CONDITIONS

                The defendant appeared before me on this date at a LASER
           Review Hearing. During the course of the hearing, the court
           determined that the defendant has violated the terms of the LASER
           Agreement/Order on Conditions of Release. As a result, the court
           enters the following order:


                    y    The defendant shall be detained until jfi**''**&   16 d'Olf          SUtJ/
                                 9
f^AfJ- Jy fl% flV0tafoS4vi^b fyfr TpPiClusion of incarceration, defendant shall be:
Hi> /A/** H*-*"^                Brought before the undersigned judge.

V<30f+*    ^J1^'         ^Cleased         on Qlrv+Q.     /f>*//at        J^^      am/^


                       The defendant shall reside in Hampshire House for a
                       period of         days/months to commence on
                                          , and shall observe the rules of
                       that facility


                       The defendant shall be placed on home detention for
                              days/months, to commence on                  .
                       During this time, the defendant shall remain at his
                       place of residence except for employment and other
                       activities approved in advance by the probation
                       officer. The defendant shall maintain a telephone at
                       his place of residence without any special services,
                       modems, answering machines, or cordless telephones for
                       the above period. The defendant shall wear an
                       electronic device and shall observe the rules specified
                       by the Probation Office. The defendant shall pay for
                        the cost of electronic monitoring to the extent he is
                        able as determined by the probation officer.
    Case 1:09-cr-00187-JL   Document 425    Filed 02/14/11   Page 2 of 2




            The defendant shall be subject to the following
            additional or modified conditions:




        Prior conditions of release not inconsistent with this orde^
shall remain in full force and effect.


                                           SO ORDERED.


Date:        Sj/ttfl/
                                           Joseph N./Lapl/nte
                                           United Spates District Judge




 3SDCNH-7 (5-10)
